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   9                       UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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   11 ORLANDO GARCIA                               CASE NO:
                                                   2:20−cv−07286−FMO−PLA
   12                  Plaintiff(s),
              v.                                   ORDER DISMISSING ACTION
   13
        ROZA ABRAHAMIAN , et al.                   WITHOUT PREJUDICE
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   16                 Defendant(s).

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   19         Having been advised by counsel that the above−entitled action has been settled,
   20    IT IS ORDERED that the above−captioned action is hereby dismissed without costs
   21    and without prejudice to the right, upon good cause shown within 45 days from the
   22    filing date of this Order, to re−open the action if settlement is not consummated.
   23    The court retains full jurisdiction over this action and this Order shall not prejudice
   24    any party to this action.

   25        IT IS SO ORDERED.
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        DATED: October 16, 2020                       /s/ Fernando M. Olguin
   27                                                Fernando M. Olguin
                                                     United States District Judge
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